                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       No. 3:06-CR-100
                                                      )       (PHILLIPS/GUYTON)
MELVIN SKINNER,                                       )
SAMUEL SKINNER, and                                   )
FRANK LOGAN ASBURY,                                   )
                                                      )
               Defendants.                            )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This matter came before the Court on January 3, 2007, for a hearing

on all pending motions. David Jennings and Hugh Ward, Assistant United States Attorneys, were

present for the government. Attorneys Ralph Harwell and Tracy Smith were present representing

Defendant Melvin Skinner, and Attorney Michael McGovern was present representing Defendant

Samuel Skinner. Defendants Melvin Skinner and Samuel Skinner were also present.

       Prior to the hearing, Attorney Harwell made an oral motion to continue the hearing pursuant

to Rule 16(d)(2) of the Federal Rules of Criminal Procedure and for leave to file further motions.

Movant alleged the government made a late disclosure of relevant discovery, in violation of the

Scheduling Order [Doc. 10]. Movant alleged the government faxed over a document, which is

attached as Defendant’s Collective Exhibit 1, containing the Application of the United States of

America and an accompanying affidavit, on January 2, 2007, the day before this hearing. This




Case 3:06-cr-00100-PLR-HBG           Document 59          Filed 01/04/07    Page 1 of 4      PageID
                                            #: 4
application was in reference to a phone with the number of (520) 869-6820. It was docketed as

3:06-MJ-2082, and a subsequent order (“2082 Order”) was issued on July 13, 2006. Both the order

and the application were sealed. Movant noted that Defendant’s pending Motion to Suppress [Docs.

34, 35] is in reference to an order (“2079 Order”), docketed as 3:06-MJ-2079 and entered on July

12, 2006, allowing for a pen register and trap and trace device on the telephone numbered (520) 869-

6447. The 2079 Order was Ordered unsealed on October 13, 2006. [Doc. 41]. The government

responded [Docs. 39, 44] to Defendant’s Motion to Suppress [Docs. 34, 35] on October 19 and 24,

2006. In its response [Doc. 39], the government’s facts revolved around the phone numbered (520)

869-6447.

               The government’s late filed discovery [Ex. 1 to this Memorandum and Order]

demonstrates that two phones were at issue, and two orders were entered. The 2079 Order was

unsealed, whereas the 2082 Order remained sealed. Defendants were not made aware of the

existence of the 2082 Order pertaining to the phone numbered (520) 869-6820 until the day before

the hearing. Defendants’ sole indicia of evidence pertaining to the phone numbered (520) 869-6820

is attached hereto as Exhibit 2.

               The government stated, and the Court finds that the late disclosure of Ehibit 1 was

inadvertent. This Court further finds that the 2079 Order and the 2082 Order pertain to different

telephones. Additionally, the applications submitted rely upon different legal bases, differing in

form and substance. Further, it appears the actual phone number and order at issue is the 2082

Order, not the 2079 Order. As the government inadvertently failed to disclose relevant discovery

to Defendants until the day before the hearing, this Court finds that justice requires this hearing to

be re-set. Accordingly, Defendant’s oral motion to continue the hearing is GRANTED.


                                                  2


Case 3:06-cr-00100-PLR-HBG            Document 59        Filed 01/04/07      Page 2 of 4      PageID
                                             #: 5
              To allow counsel to amend motions to account for the newly discovered legal bases

and facts, this Court finds good cause to extend the time for filing motions, and GRANTS

Defendants’ oral motion for leave to file further motions. Defendants may file motions and

supplements to pending motions up to and including January 17, 2007. The government may file

responses and supplements to presently pending motions up to and including January 31, 2007. As

this Court informed counsel at the hearing, in the event that only a few changes are needed, a

supplement or errata sheet will suffice to amend the presently pending motions. The hearing is

rescheduled for February 13, 2007 at 9:00 a.m., before the undersigned.

              Upon the motion of the government and for good cause shown, the order, dated July

13, 2006, which pertained to telephone number (520) 869-6820 and docketed as 3:06-MJ-2082, and

the application and any affidavits filed in support of said order are hereby UNSEALED.

              Accordingly, it is ORDERED:

              1. Defendant’s oral motion to continue the hearing is GRANTED;

              2. Defendants’ oral motion for leave to file further motions is
              GRANTED;

              3. Defendants may file motions and supplements, as outlined above,
              up to and including January 17, 2007;

              4. The government may file responses or supplements, as outlined
              above, up to and including January 31, 2007;

              5. The hearing is re-set for February 13, 2007 at 9:00 a.m., before
              the undersigned; and

              6. The sealed order, dated July 13, 2006 and docketed as 3:06-MJ-
              2082, and the accompanying application and any affidavits are
              UNSEALED; and




                                              3


Case 3:06-cr-00100-PLR-HBG         Document 59       Filed 01/04/07       Page 3 of 4    PageID
                                          #: 6
            7. This Memorandum and Order is to be entered with Defendant’s
            Exhibits 1 and 2 attached as part of the record.

            IT IS SO ORDERED.


                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




                                          4


Case 3:06-cr-00100-PLR-HBG     Document 59      Filed 01/04/07    Page 4 of 4   PageID
                                      #: 7
